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          16
                                  UNITED STATES DISTRICT COURT
          17
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
          18
                   MASIMO CORPORATION,                      CASE NO. 8:20-cv-00048-JVS (JDEx)
          19       CERCACOR LABORATORIES, INC.,
          20                          Plaintiffs,           DEFENDANT APPLE INC.’S NOTICE
                                                            OF MOTION AND MOTION FOR
          21             v.
                                                            PROTECTIVE ORDER BARRING
          22       APPLE INC.,                              TRADE SECRET-RELATED
                                                            DISCOVERY ABSENT TRADE
          23                          Defendant.
                                                            SECRET IDENTIFICATION
          24                                                 Hr’g Date/Time: May 21, 2020, at 10 a.m.
          25                                                 Courtroom:        6A
                                                             Judge:            Hon. John D. Early
          26                                                 Discovery Cutoff:       July 5, 2021
                                                             Pretrial Conference:    March 21, 2022
          27                                                 Trial:                  April 5, 2022

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            1      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
            2            PLEASE TAKE NOTICE that on May 21, 2020, at 10:00 AM, or as soon
            3      thereafter as the matter may be heard, in Courtroom 6A of the United States District
            4      Court for the Central District of California at Ronald Reagan Federal Building and
            5      United States Courthouse, 411 W. Fourth Street, Santa Ana, California, 92701,
            6      Defendant Apple Inc. (“Apple”) will and hereby does move the Court under Federal
            7      Rule of Civil Procedure 37 and Local Rule 37-2 for a protective order. Specifically,
            8      Apple requests an order that it need not respond to the trade secret-related requests in
            9      Plaintiffs’ First Set of Requests for Production of Documents (“Requests”)—i.e.,
          10       Request Nos. 5-25—until Plaintiffs Masimo Corporation (“Masimo”) and Cercacor
          11       Laboratories, Inc. (“Cercacor”) (collectively, “Plaintiffs”) describe their trade secrets
          12       with reasonable particularity consistent with California Code of Civil Procedure Section
          13       2019.210 (“Section 2019.210”). Plaintiffs already objected to producing a trade secret
          14       disclosure in compliance with 2019.210, but Judge Selna “stay[ed] the trade secret
          15       discovery only pending compliance with 2019.210” and ordered that “[a]ny dispute over
          16       compliance shall be heard before the Magistrate Judge.” Order Re Scheduling Dates,
          17       Dkt. No. 37, at 1 (“Scheduling Order”).1 Despite this, Plaintiffs still have not complied
          18       with Section 2019.210; nor have they indicated a date certain by which they will do so.
          19       Apple will respond to Plaintiffs’ patent-related Requests with non-confidential
          20       documents, but this Court should grant a protective order prohibiting Plaintiffs from
          21       commencing discovery relating to their alleged trade secrets until Plaintiffs provide a
          22       Section 2019.210-compliant disclosure.          Plaintiffs’ allegations of trade secret
          23       misappropriation in this case—and their purposeful delay in complying with Section
          24       2019.210—raise every problem that Section 2019.210 is intended to solve:
          25
          26
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                      Judge Selna issued the Scheduling Order, included hereto as Attachment A to the
          27       Joint Stipulation, on April 17, 2020, after Apple delivered its portion of the stipulation
                   to Plaintiffs’ counsel on April 8, 2020. Apple will therefore address Plaintiffs’
          28       arguments made in the Joint Stipulation concerning the Scheduling Order in its
                   Supplemental Memorandum under Local Rule 37-2.3.
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            1            First, the only description of the alleged trade secrets provided by Plaintiffs—in
            2      their First Amended Complaint—provides no hint as to the merits of the
            3      misappropriation claim, but instead includes thousands of potential trade secrets in non-
            4      descript categories that cover every aspect of Plaintiffs’ business.
            5            Second, Plaintiffs repeatedly have tried to access Apple’s confidential information
            6      before they identify their own alleged trade secrets. Specifically, Plaintiffs have sent
            7      letters demanding Apple’s confidential information and attempted to gain Apple’s
            8      confidential information through a third-party subpoena in the related action Masimo
            9      Corp. et al. v. True Wearables Inc. et al., No. 8:18-cv-02001-JVS-JDE (served just one
          10       day before Plaintiffs filed the above-captioned action). These actions highlight the
          11       obvious risk of Plaintiffs manufacturing an otherwise-nonexistent trade secret claim out
          12       of Apple’s confidential information.
          13             Third, until Plaintiffs specifically define their alleged trade secrets, neither the
          14       Court nor the parties can tailor or manage the discovery process in this case, because the
          15       appropriate bounds of discovery in this case cannot be measured absent a Section
          16       2019.210-compliant disclosure. The need for Apple to file this very Motion for a
          17       Protective Order only underscores this problem.
          18             Fourth, a clear articulation of the alleged trade secrets at issue is necessary for
          19       Apple to formulate complete and well-reasoned defenses, and will allow Apple to
          20       address such basic issues as, for example, the statute of limitations and which alleged
          21       secrets were public and when.
          22             Accordingly, the Court should grant a protective order barring Plaintiffs’ trade
          23       secret-related discovery and order Plaintiffs to promptly comply with Section 2019.210
          24       so that this case may move forward without further delay.
          25             This Motion is based on this Notice of Motion and Motion, the accompanying
          26       Joint Stipulation and Apple’s supporting declaration and exhibits attached thereto, the
          27       Scheduling Order attached to the Joint Stipulation, and such further evidence and
          28       argument as may be presented at or before the hearing on this matter. Plaintiffs also

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            1      have submitted an accompanying declaration and exhibits in support of their position in
            2      the Joint Stipulation.
            3      Dated: April 30, 2020                    Respectfully submitted,
            4                                               JOSHUA H. LERNER
                                                            H. MARK LYON
            5                                               BRIAN M. BUROKER
                                                            BRIAN A. ROSENTHAL
            6                                               ILISSA SAMPLIN
                                                            ANGELIQUE KAOUNIS
            7                                               GIBSON, DUNN & CRUTCHER LLP
            8
            9                                               By: /s/ Joshua H. Lerner
                                                                Joshua H. Lerner
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          11                                                Attorneys for Defendant Apple Inc.
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